Case 2:05-cr-20227-SH|\/| Document 20 Filed 08/24/05 Page 1 of 3 Page|D 21

FII.ED BY __,,% D.G.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 AUG 25 p" 32 15
Western Division

THO!MS M. GOULD
UNITED STATES OF AMERICA CLER}(, U_S_ Q}STR;CT C(]UF]]'

W,D C-F i.-iE"‘viPliS
~vs- Case No. 2:05cr20227-001Ma
CLAUDY REDMOND

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above»styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The F ederal Public Defender is appointed as counsel for the Defendant. The defendant is
to pay 3100 per month into the Registry of this Court to offset the cost of counsel.

TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this 17th day of August, 2005.

,_____
<g- /é/mm _/
s. THOMAS ANDERSON

UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

CLAUDY REDMOND

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Th'\s doct.mem entered on the docket she in co p
with Fm|e 55 andjor 32ibi FF\CrP on _ ___W

Case 2:05-cr-20227-SHI\/| Document 20 Filed 08/24/05 Page 2 of 3 Page|D 22

Fll.ED BY
UNITED STATES DISTRICT COURT "'
WESTERN DISTRICT OF TENNESSEE 05
Western Division AUG 2a PH 33 l 5
UNITED STATES OF AMERICA CLEN% UNSM§?:|;JTHV‘T mar
W G'L li',‘l\ ,
-vs- Case N 0 2: 0Scr20227-001 MaMDl-ls

CLAUDY REDMOND

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherm`se qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

~ The Federal Public Defender is appointed as counsel for the Defendant. The defendant is
to pay $100 per month into the Registry of this Court to offset the cost of counsel.

TYPE OF APPOINTMENT
* All purposes including trial and appeal
DONE and ORDERED in 167 North Main, Memphis, this 17‘h day of August, 2005 .

<'S’.'TA;W @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake

CLAUDY REDMOND

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Pamela B. Harnrin

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E. Greg Gilluly

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Ste. 800

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Honorable Sarnuel Mays
US DISTRICT COURT

